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      In The United States Court of Federal Claims
                                              No. 10-393C

                                      (Filed: January 7, 2011)
                                            __________

 AVIATION SOFTWARE, INC. and
 AIRFRAME SYSTEMS, INC.,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.

                                               _________

                                                ORDER
                                               _________

        On January 6, 2011, plaintiffs filed an unopposed motion for a fifteen-day extension of
time to file an opposition to defendant’s motion to dismiss. Plaintiffs’ motion is hereby
GRANTED. Accordingly:

       1.       On or before January 28, 2011, plaintiffs shall file their response to
                defendant’s motion to dismiss; and

       2.       On or before February 11, 2011, defendant and third-party
                defendant shall file their reply.

       IT IS SO ORDERED.



                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
